     Case 2:12-cr-00001-DJP-MBN     Document 1230   Filed 02/19/16   Page 1 of 7



                        UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                      CRIMINAL ACTION

V.                                                            NO. 12-1

ANDRE HANKTON ET AL.                                          SECTION "F"

                                       ORDER

        Before   the   Court   is   Andre    Hankton’s   motion      to   suppress

evidence. For the following reasons, the motion is DENIED.

                                    Background

        On June 19, 2014, a federal grand jury returned a third

superseding indictment charging 13 defendants with 24 counts of

federal crimes. The grave charges alleged in the indictment have

been listed, summarized, and repeated throughout the procedural

history of this case. This Order and Reasons assumes familiarity.

This particular motion involves only one defendant, Andre Hankton.

        Andre Hankton is charged in Counts 3, 7, 8, and 9 of the

indictment. Count 3 charges that he was a member of a conspiracy

to possess firearms in furtherance of RICO and drug conspiracies.

He is accused of possessing a short-barreled shotgun in Count 9.

He is also charged alongside Telly Hankton in Counts 7 and 8 for

the murder of Darnell Stewart. Specifically, Count 7 charges him

with murder in aid of racketeering, and Count 8 charges him with

causing death through the use of a firearm in furtherance of the

RICO and drug conspiracies.


                                         1
  Case 2:12-cr-00001-DJP-MBN   Document 1230    Filed 02/19/16   Page 2 of 7



     In this motion, Hankton urges the Court to suppress evidence

of a stolen handgun and a short-barrel shotgun. He submits that

police officers discovered the weapons in violation of his Fourth

Amendment rights while performing an illegal search of his vehicle

during a routine traffic stop.

     The   government   correctly   points     out   that   Hankton    offers

wishful thinking for his motion. According to the police report,

a New Orleans police officer stopped Hankton’s vehicle on belief

that Hankton’s window tint was illegally opaque. Hankton, the

driver, told the officer that there was a gun in the vehicle and

then exited the vehicle. The officer asked Hankton where the gun

was located inside the vehicle. Hankton then contradicted himself,

saying there was no gun in the vehicle. The officer instructed

Hankton to return to his vehicle if there was no gun, but Hankton

refused. The officer then placed Hankton in handcuffs and put him

in the police car.

     The officer returned to the vehicle and asked the passenger,

Ms. Sierra Lee, if she knew whether there was a gun in the car.

Lee stated there was no gun. The officer then looked in the back

seat of the vehicle and saw a handgun in plain view. The officer

seized the gun and checked its serial number; the gun had been

reported stolen. The officer read Hankton his Miranda rights and

placed him under arrest. Another officer arrived on the scene and



                                    2
  Case 2:12-cr-00001-DJP-MBN   Document 1230    Filed 02/19/16   Page 3 of 7



searched the back seat of the vehicle. The officer discovered a

short-barrel rifle under a towel on the back seat.

                                   I.

     The exclusionary rule allows a defendant to suppress the

evidentiary fruits of a violation of his Fourth Amendment rights.

United States v. Pack, 612 F.3d 341, 347 (5th Cir. 2010). In the

context of a traffic stop, the Court determines the existence of

a Fourth Amendment violation under the standard announced by the

Supreme Court in Terry v. Ohio, 392 U.S. 1 (1968). The Fifth

Circuit has recently re-articulated that standard:

     First, we examine whether or not the officer’s decision
     to stop the vehicle was justified at its inception.
     Second, we determine whether or not the officer’s
     subsequent actions were reasonably related in scope to
     the circumstances that caused him to stop the vehicle in
     the first place. . . . If the officer develops reasonable
     suspicion of additional criminal activity during his
     investigation of the circumstances that originally
     caused the stop, he may further detain its occupants for
     a reasonable time while appropriately attempting to
     dispel this reasonable suspicion.

Pack, 612 F.3d at 350.

     “Reasonable suspicion exists when the detaining officer can

point to specific and articulable facts that, when taken together

with rational inferences from those facts, reasonably warrant the

. . . seizure.” Id. (quoting United States v. Estrada, 459 F.3d

627, 631 (5th Cir. 2006). The Court must look at the “totality of

circumstances”   in   evaluating   whether     or   not   the    officer   had

reasonable suspicion of criminal activity. Id. “[D]ue weight must

                                    3
    Case 2:12-cr-00001-DJP-MBN   Document 1230   Filed 02/19/16   Page 4 of 7



be given . . . to the specific reasonable inferences which he is

entitled to draw from the facts in light of his experience.” Id.

(quoting Terry, 392 U.S. at 27).

       “While the Fourth Amendment generally prohibits warrantless

seizures, the ‘plain view’ exception allows police to seize items

where: (1) the police lawfully entered the area where the item was

located; (2) the item was in plain view; (3) the incriminating

nature of the item was ‘immediately apparent,’ and (4) the police

had a lawful right of access to the item. United States v.

Rodriguez, 601 F.3d 402, 407 (5th Cir. 2010).

                                     II.

       The only authority Hankton offers in support of his motion is

a vague plea to the Fourth Amendment. Hankton does not state the

specific legal grounds for the alleged Constitutional violation.

Nor does he dispute the narrative recited in the police report.

       The officer stopped Hankton for allegedly having illegally

dark window tint on his vehicle. 1 Without any prompting, Hankton

told the officer that there was a gun in the vehicle. Then followed

Hankton’s conflicting statement and his refusal to re-enter the

vehicle, all of which were reasonable cause to produce suspicion

of additional criminal activity. The officer was loyal to the




1A later test performed by the officer confirmed that the window
tint was illegal.
                                      4
    Case 2:12-cr-00001-DJP-MBN    Document 1230   Filed 02/19/16   Page 5 of 7



Fourth    Amendment   when   he   detained   Hankton     to   dispel    of   his

suspicion.

       When the officer returned to the vehicle to question its other

occupant, he saw a handgun in plain view in the back seat. Applying

the four factors of the “plain view” doctrine, the officer properly

secured the weapon. The only plausible objection to compliance

with the “plain view” doctrine is that the incriminating nature of

the handgun was not “immediately apparent.” The Fifth Circuit, in

United States v. Rodriguez, however, mutes this tune.

       In Rodriguez, the Fifth Circuit held that officers responding

to a domestic dispute who seized a short-barrel shotgun in plain

view while conducting a valid protective sweep of the residence

did not violate the Fourth Amendment. The Court reasoned, “Common

sense dictates that a firearm that could be accessed by someone at

the scene and used against officers or others should be unloaded,

and at least temporarily, kept in a safe place.” 601 F.3d at 408.

When the officers seized the weapon, they were unaware that it was

illegal. Yet, the Court concluded that the plain view doctrine

allowed them to seize the weapon temporarily to secure it during

their investigation. 2 The facts presented here lead to the same

conclusion.


2 The Court in Rodriguez noted, “We do not hold that any seizure
of a weapon whose incriminating nature is not immediately apparent
is reasonable. Rather, whereas here, the officers were conducting
a legitimate protective sweep for other persons potentially within
                                       5
  Case 2:12-cr-00001-DJP-MBN     Document 1230   Filed 02/19/16   Page 6 of 7



     The officer who stopped Hankton was conducting a legitimate

traffic stop. Hankton informed him that there was a handgun in the

vehicle,   and   the   officer   was   aware   that   another     person   with

potential access to the weapon was also in the vehicle. He properly

seized the weapon to secure his own safety. Once seized for this

purpose, the incriminating nature of the weapon became apparent,

and it was then subject to permanent seizure as contraband. Id.

     After Hankton and Lee were arrested for possessing a stolen

handgun, the officers reasonably searched the backseat of the

vehicle for evidence of the arrest. See Arizona v. Gant, 556 U.S.

332, 343 (2009)(“[W]e also conclude that circumstances unique to

the vehicle context justify a search incident to a lawful arrest

when it is ‘reasonable to believe evidence relevant to the crime

of arrest might be found in the vehicle.’” (quoting Thornton v.

United States, 254 U.S. 615, 632 (2004)(Scalia, J., concurring)).

The officers limited their search to the back seat of the vehicle

where the stolen handgun was found. The short-barrel shotgun was

also found on the backseat.

     To underscore, Hankton does not dispute these facts or offer

any helpful legal support for his motion.




the trailer, we think that the temporary seizure to secure the
weapon was reasonable so as to allow the officers to safely conduct
their investigation.” 601 F.3d at 408 n. 2.

                                       6
  Case 2:12-cr-00001-DJP-MBN     Document 1230   Filed 02/19/16   Page 7 of 7



     Accordingly, Andre Hankton’s motion to suppress is hereby

DENIED.




                               New Orleans, Louisiana, February 19, 2016


                                    ______________________________
                                         MARTIN L. C. FELDMAN
                                     UNITED STATES DISTRICT JUDGE




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